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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 CRYPTON FUTURE MEDIA, INC.,


                          Plaintiff,                   Case No. 23-cv-4709
 v.

 THE PARTNERSHIPS and                                  Judge Sara L. Ellis
 UNINCORPORATED ASSOCIATIONS
 IDENTIFIED ON SCHEDULE A,

                          Defendants.


      NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO FED. R. CIV. P 41(a)(1)

        Pursuant to Federal Rule of Civil Procedure 41(a)(1), Crypton Future Media, Inc. (“Plaintiff”),

hereby voluntarily dismisses its Complaint against the following Defendants identified on Schedule A, with

prejudice, with each party responsible for its costs and attorneys’ fees:

                      Defendant No.                          Store Name
                           168                             hosimiyayashiro
                           181                                 Xingwang
                           182                                xingjudian
                           250                                Fuji_san88
                           256                            strongbeauty-wigs
                           264                               aimolee-wigs
                           285                                 sakigaoka
                           323                               miccostumes

Dated: September 22, 2023                                  Respectfully submitted,

                                                           /s/ Sofia Quezada Hastings
                                                           Sofia Quezada Hastings
                                                           One of the Attorneys for Plaintiff, Crypton
                                                           Future Media, Inc.

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